Case 2:18-cv-03100-JAM-DB Doctpnéisiie4 Filed 01/03/19 Page 1of 4
PRO HAC VICE APPLICATION,
ECF REGISTRATION AND CONSENT
TO ELECTRONIC SERVICE,
PROPOSED ORDER

  

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

JOHN A. BENNETT

Plaintiff(s),
Case No. 2:18-cv-03100-JAM-DB
Vv.
CKS FINANCIAL, LLC d/b/a
WEBCOLLEX, LLC
Defendant(s).
|, Nathan C. Volheim , attorney for_ John A. Bennett

 

 

hereby petition for admission to practice Pro Hac Vice under the provision of Local Rule
180(b)(2). | understand and consent to ECF Registration and Electronic Service as detailed
below and | have submitted payment in the amount of $225.00 to the Clerk, U.S. District Court.
In support of this petition, | state under penalty of perjury that:

My business address is:

Firm Name: Sulaiman Law Group, Ltd.
Address: 2500 South Highland Avenue, Suite 200
City: Lombard

State:: - - IL ZIP Code: 60148
Voice Phone: (630 ) 575-8181 x113

FAX Phone: (630) 575-8188

internet E-mail: nvolhein@sulaimanlaw.com
Additional E-mail: kwadia@sulaimanlaw.com

| reside in City: Chicago State: Illinois
Case 2:18-cv-03100-JAM
| was adiiitied to practice in the St tate of DoF Ilinors

cument 4 Filed 01/03/19 Page (court of +)
on May 6, 2010 (date). | am presently in good standing and
eligible to practice in said court. A certificate of good standing from the court in my state of
primary practice is attached to this application. | am not currently suspended or disbarred in
any other court.

| have not concurrently or within the year preceding this application made
a pro hac vice application to this court. (If you have made a pro hac vice application to this
court within the last year, list the name and case number of each matter in which an

application was made, the date of application and whether granted or denied.)

Koval v. Patanaude & Felix, Application Submitted on January 3, 2019, Application pending.

 

 

| hereby designate the following member of the Bar of this Court who is registered for
ECF with whom the Court and opposing counsel may readily communicate regarding the
conduct of the case and upon whom electronic notice shall also be served via the court's ECF
system:
Name: Nicholas M. Wajda
Firm Name: Wajda Law Group, APC
Address: 11400 West Olympic Boulevard, Suite 200M
City: Los Angeles
State: . California ZIP Code: 90064
Voice Phone: (310) 997-0471
FAX Phone: (866) 286 8433

E-mail: nick@wajdalawgroup.com

Dated: \ 3| 1c Petitioner: Aha,

 
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IT 1S SO ORDERED.

 

Dated:
. JUDGE, U.S. DISTRICT COURT
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Certificate of Admission
To the Bar of Illinois

1, Carolyn Taft Grosboll, Clerk of the Supreme Court of Illinois, do hereby certify that
Nathan Charles Volheim

has been duly licensed and admitted to practice as an Attorney and Counselor at
Law within this State; has duly taken the required oath to support the
CONSTITUTION OF THE UNITED STATES and of the STATE OF ILLINOIS, and
also the oath of office prescribed by law, that said name was entered upon the Roll
of Attorneys and Counselors in my office on 05/06/2010 and is in good standing, so
far as the records of this office disclose.

IN WITNESS WHEREOF, | have hereunto
subscribed my name and affixed the
seal of said Court, this 4th day of
December, 2018.

Carel yr To Csboee

Clerk,
Supreme Court of the State of Illinois

 

 
